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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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 10    LEE EDWARD PEYTON,                             Case No. CV 19-9249-VAP (KK)
 11                              Petitioner,
 12                        v.                         JUDGMENT
 13    RALPH DIAZ,
 14                              Respondent.
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 17         Pursuant to the Order Accepting Findings and Recommendation of United
 18   States Magistrate Judge,
 19         IT IS HEREBY ADJUDGED that the Petition is DENIED and this action is
 20   DISMISSED with prejudice.
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 22   Dated: October 2, 2020
                                               HONORABLE VIRGINIA A. PHILLIPS
 23                                            United States District Judge
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